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                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT
                               717 MADISON PLACE, N.W.
                               WASHINGTON, D.C. 20439

 JARRETT B. PERLOW                                                       CLERK’S OFFICE
  CLERK OF COURT                                                          202-275-8000


                                  January 25, 2024

             2023-2267 - Fraunhofer-Gesellschaft v. Sirius XM Radio Inc.

                     NOTICE OF NON-COMPLIANCE
The document (Response Brief) submitted by Sirius XM Radio Inc. is not in
compliance with the rules of this court. Within five business days from the date of
this notice, please submit a corrected version of this document correcting the
following:

   •   The information in response to Section 4 on the Certificate of Interest (COI)
       included in the document does not match the information on the COI entered
       on the docket. Please ensure the COI included in the corrected document
       contains up-to-date information. If that information differs from the
       previously filed COI, please refile this document and file an amended COI as
       a separate docket entry. Fed. Cir. R. 47.4(c).


                                         ***

 If applicable, the deadline for the next or responsive submission is computed from
   the original submission date, not the submission date of the corrected version.

   When filing the corrected document, please include the word "Corrected" in the
  document title or on the cover. See Fed. Cir. R. 25(c)(4) and Fed. Cir. R. 25(i) for
                      information concerning corrected filings.

 A party's failure to timely file a corrected document curing all defects identified on
 this notice may result in the original document being stricken from the docket. An
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appellant's failure to cure a defective filing may also result in the dismissal of the
                      appeal pursuant to Fed. R. App. P. 31(c).


                                               FOR THE COURT




                                               By: G. Kilgore, Deputy Clerk
